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                    UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF DELAWARE


 CRYSTALLEX INTERNATIONAL CORP.,

                        Plaintiffs,

            v.                             C.A. No. 17-mc-151-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,

                        Defendant.


 GRAMERCY DISTRESSED OPPORTUNITY
 FUND LLC,

                        Plaintiff,
                                          C.A. No. 23-mc-378-LPS
            v.                            C.A. No. 23-mc-379-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,

                        Defendant.


 RUDI LOVATI AND ALESSANDRO
 LUCIBELLO PIANI,

                        Plaintiffs,
                                          C.A. No. 23-mc-340-LPS
            v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

                        Defendant.


 ALTANA CREDIT OPPORTUNITIES FUND
 SPC, ALTANA CREDIT OPPORTUNITIES
 FUND 1 SP, and ALTANA FUNDS LTD.
 CAYMAN,
                                          C.A. No. 23-mc-608-LPS
                        Plaintiffs,

            v.




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 BOLIVARIAN REPUBLIC OF VENEZUELA,

 Defendant.


  RESPONSE TO THE MOTION FOR MISCELLANEOUS RELIEF IN CONNECTION
                 WITH THE SALE PROCEDURES ORDER

       Altana Credit Opportunities Fund SPC, Altana Credit Opportunities Fund 1 SP, and Altana

Funds Ltd. Cayman (together, “Altana”) submit the following Response to the Motion for

Miscellaneous Relief in Connection with the Sale Procedures Order (the “Motion”), filed by

Gramercy Distressed Opportunity Fund, LLC and Rudi Lovati and Alessandro Lucibello Piani

(the, “Movants”), filed on January 26, 2024, in three separate actions, including the Crystallex

International Corporation v. Bolivarian Republic of Venezuela, C.A. No. 17-mc-151-LPS matter

(the “Crystallex Matter”). (Crystallex Matter, D.I. 893.)

       While Altana does not take a position on the Motion, footnote 5 requests a response from

Altana, stating:

               Altana Credit Opportunities Fund SPC, Altana Credit Opportunities
               Fund 1 SP Altana Funds Ltd. Cayman (“Altana”), who was granted
               a writ of attachment on January 24, 2024, only moved for a writ of
               attachment on December 21, 2023 and is not in a position similar to
               the 2023 Additional Judgment Creditors, who filed their motions in
               the span of nine weeks in the summer of 2023. However, Movants
               would not oppose a request by Altana to be considered a 2023
               Additional Judgment Creditor so that the relief requested herein
               would also apply to it.

(Motion at 8 n.5.) To the extent the Court grants the Motion, Altana accepts the Motion’s invitation

in Footnote 5, and requests that Altana be treated as an Additional Judgment Creditor consistent

with the Court’s finding that Altana’s filing of its motion for writ of attachment on December 21,

2023, was “meaningfully in advance” of the Step 5 deadline of January 12th.




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 Dated: February 8, 2024                         BAYARD, P.A.

                                                 /s/ Stephen B. Brauerman
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                                                 Counsel for Altana Credit
                                                 Opportunities Fund SPC, Altana
                                                 Credit Opportunities Fund 1 SP, and
                                                 Altana Funds Ltd. Cayman




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